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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · CIVIL ACTION NO. 1:20-CV-00078-CMA-SKC
·4
·5· · ·A.C., AS PARENT OF MINOR AND NEXT FRIEND AND S.T.C.,
·6· · · · · · · · · · · · · Plaintiffs
·7
·8· · · · · · · · · · · · · · · V.
·9
10· · · ·JEFFERSON COUNTY R1 SCHOOL DISTRICT, JEFF GOMEZ,
11· · · ·INDIVIDUALLY, AND WILLIAM CARLIN, INDIVIDUALLY,
12· · · · · · · · · · · · · Defendants
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14· · · · · · · · · · · · ·CONFIDENTIAL
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23· ·DEPONENT:· JEFFREY GOMEZ
24· ·DATE:· · · MAY 11, 2022
25· ·REPORTER:· DANIELLE GARBO
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·1· · · · · · · · · · · · ·APPEARANCES
·2
·3· ·ON BEHALF OF THE PLAINTIFFS, A.C., AS PARENT OF MINOR
·4· ·AND NEXT FRIEND AND S.T.C.:
·5· ·Edward Milo Schwab, Esquire
·6· ·Ascend Counsel, LLC
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·8· ·Denver, Colorado 80210
·9· ·Telephone No.: (303) 888-4407
10· ·E-mail: milo@ascendcounsel.co
11
12· ·ON BEHALF OF THE DEFENDANTS, JEFFERSON COUNTY R1 SCHOOL
13· ·DISTRICT, JEFF GOMEZ, INDIVIDUALLY, AND WILLIAM CARLIN,
14· ·INDIVIDUALLY:
15· ·Gwyneth Whalen, Esquire
16· ·Elliott V. Hood, Esquire
17· ·Caplan and Earnest LLC
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25
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·1· · · · · · · · · · · · ·STIPULATION
·2
·3· ·The deposition of JEFFREY GOMEZ was taken at CAPLAN &
·4· ·EARNEST LLC 3107 IRIS AVENUE SUITE 100 BOULDER, COLORADO
·5· ·80301 on WEDNESDAY, the 11th day of MAY 2022, at
·6· ·approximately 9:04 a.m.; said deposition was taken
·7· ·pursuant to the FEDERAL Rules of Civil Procedure.
·8
·9· ·It is agreed that DANIELLE GARBO, being a Notary Public
10· ·and Court Reporter for the State of COLORADO, may swear
11· ·the witness and that the reading and signing of the
12· ·completed transcript by the witness is not waived.
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·1· · · · · · MR. SCHWAB:· Yeah.· Yeah.
·2· · · · · · MS. WHALEN:· So, just look at it.
·3· · · · · · THE WITNESS:· Yeah.· This is what I was
·4· · · ·alluding to a second ago.· I thought it was a
·5· · · ·matrix.
·6· · · · · · MS. WHALEN:· Yeah.· Just look at it and then he
·7· · · ·can ask you questions.
·8· · · · · · THE WITNESS:· Okay.· Got it.· Okay.
·9· ·BY MR. SCHWAB:
10· · · · Q· · That's the document you were referring to
11· ·before?
12· · · · A· · Uh-huh.
13· · · · · · MR. SCHWAB:· Okay.· That --
14· · · · · · MS. WHALEN:· Just so the record's clear.· Yes?
15· · · · · · THE WITNESS:· Yes.· Sorry.
16· ·BY MR. SCHWAB:
17· · · · Q· · That's all it is.· That was the whole purpose
18· ·of showing you that.
19· · · · · · THE WITNESS:· Give it back?
20· · · · · · MS. WHALEN:· Yeah.· She's the keeper of the
21· · · ·official documents.
22· · · · · · THE WITNESS:· Got it.
23· ·BY MR. SCHWAB:
24· · · · Q· · Have you ever heard of the term Titty-Touch
25· ·Tuesday?
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·1· · · · A· · I --
·2· · · · · · MS. WHALEN:· Object to the form. Vague as far
·3· · · ·as timing.· You can answer.
·4· · · · Q· · I'm asking at Everitt for now.
·5· · · · · · MS. WHALEN:· You can answer.
·6· · · · A· · I heard that term through rumors that students
·7· ·brought to our attention, yes.
·8· · · · Q· · Okay.· When was the first time you heard a
·9· ·rumor about that?
10· · · · A· · Oh probably within a year or two of my arrival
11· ·at Everitt in the fall, September.
12· · · · Q· · What would those rumor -- how would those
13· ·rumors come to you?
14· · · · A· · Student or students.· Several, you know, not a
15· ·lot of students, but several students would come to me
16· ·and say, "I need to talk to you Mr. Gomez."· And they
17· ·would say that they've been hearing this has been
18· ·happening in the building.
19· · · · Q· · Would they complain that it happened to them?
20· · · · A· · I never received any complaint that it
21· ·happened to them specifically, no.
22· · · · Q· · Okay.
23· · · · A· · They were more concerned about it possibly
24· ·happening to them than it happening to them.
25· · · · Q· · Okay.· Did you ever hear from teachers about
